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                                                                                    FILED
                                                                          U. S. DISTRICT COURT
                                                                         DISTRICT OF NEBRASKA
                             IN THE UNITED STATES DISTRICT COURT 10 MAR              15 PH 3: 29
                                 FOR THE DISTRICT OF NEBRASKA         I



UNITED STATES OF AMERICA,                             )
                                                                           OFFICE OF THE CLERK
                                                      )
                        Plaintiff,                    )   8:10CR ,,(p
                                                      )
                        vs.                           )   INDICTMENT
                                                      )   [21 U.S.C. § 841 (a)(1) & (b)(I)]
RYAN J. SHUFFTY,                                      )
                                                      )
                        Defendant.                    )

       The Grand Jury Charges:

                                             COUNT I

        On or about March 15,2010, in the District of Nebraska, RYAN J. SHUFFTY, defendant

herein, did knowingly and intentionally manufacture, distribute or dispense, or possess with intent to

manufacture, distribute, or dispense 100 or more marijuana plants, a Schedule II controlled substance.

        In violation of Title 21, United States Code, Section 841 (a)(1) and Title 2 J, United States

Code, Section 841 (b)( 1).

                                                      A TRUE BILL:




                                              ANDREA E. BELGAU
                                              Assistant United States Attorney
